                                                        Case 2:18-cv-03466-DMG-SK Document 11 Filed 05/07/18 Page 1 of 5 Page ID #:872




                                                         1   GERAGOS & GERAGOS
                                                                    A PROFESSIONAL CORPORATION
                                                         2                  LAWYERS
                                                                      HISTORIC ENGINE CO. NO. 28
                                                                     644 South Figueroa Street
                                                         3       Los Angeles, California 90017-3411
                                                                     Telephone (213) 625-3900
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                                                         5   MARK J. GERAGOS            SBN 108325
                                                             BEN J. MEISELAS            SBN 277412
                                                         6   Attorneys for Plaintiff BIG3 BASKETBALL, LLC, O’SHEA JACKSON
                                                             AKA ICE CUBE, AND JEFF KWATINETZ
                                                         7
                                                         8
                                                                                          UNITED STATES DISTRICT COURT
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                                                                                         CENTRAL DISTRICT OF CALIFORNIA
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                                                        11
                   Los Angeles, California 90017-3411




                                                              BIG3 LLC, a limited liability company;              Case No. 2:18-cv-3466
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                                                        12    O’Shea Jackson a/k/a Ice Cube, an
                      644 South Figueroa Street
                        HISTORIC ENGINE CO. NO. 28




                                                              individual; and Jeff Kwatinetz, an                  Assigned for all purposes to
                                                        13
                                                              individual;                                         Hon. Dolly M. Gee
                                                        14
                                                                                      Plaintiffs                  SUPPLEMENTAL DECLARATION
                                                        15                                                        OF BEN MEISELAS IN SUPPORT OF
                                                                                   vs.                            PLAINTIFFS’ MOTION FOR LEAVE
                                                        16
                                                                                                                  TO CONDUCT JURISDICTIONAL
                                                        17    Ahmed Al-Rumaihi, an individual; Faisal             DISCOVERY
                                                        18    Al-Hamadi, an individual; Ayman Sabi, an
                                                              individual; Sheikh Abdullah bin Mohammed            Hearing Date: June 15, 2018
                                                        19    bin Sau Al Thani, an individual and as CEO          Hearing Time: 9:30AM
                                                              of Qatar Investment Authority; DOES 1-100           Courtroom: 8C
                                                        20
                                                        21                         Defendants.

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                                                                                         SUPPLEMENTAL DECLARATION OF BEN MEISELAS
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                                                         1          I BEN MEISELAS DECLARE,
                                                         2
                                                         3          1.     I am an attorney of record for Plaintiffs and licensed to practice law before this
                                                         4   Court and State. If called as a witness I could and would testify to the following.
                                                         5          2.     Upon further review, I identified additional documents in support of Plaintiffs’

                                                         6   Motion for Limited Jurisdictional Discovery which were not included in Plaintiffs’ previous

                                                         7   filings this evening.
                                                                    3.     As stated in the declaration of Jeff Kwatinetz in support of Plaintiffs’ Motion for
                                                         8
                                                             Limited Jurisdictional Discovery, Mr. Kwatinetz stated that Mr. Al-Rumaihi’s long-term
                                                         9
                                                             girlfriend resided with Mr. Al-Rumaihi in Los Angeles, California.
                                                        10
                                                                    4.     I was able to identify text messages between Mr. Al-Rumaihi’s girlfriend Helga
                                                        11
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                                                             and Mr. Kwatinetz’s wife Natalie from November 2017.
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                                                                    5.     In the text messages, Helga confirms that her and Mr. Al-Rumaihi moved to
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                                                             Abbott Kinney, in Venice, Los Angeles, California.
                                                        14          6.     Helga stated that her and Mr. Al-Rumaihi “moved in,” “loved the spot,” and that
                                                        15   “we’ll take over Venice,” The text messages were sent in November 2017, and like her and
                                                        16   Mr. Al-Rumaihi’s other communications and conduct, gave the clear impression by this time
                                                        17   that they intended to permanently reside in Los Angeles, California.
                                                        18          7.     Attached hereto as Exhibit “A” is a true and correct copy of these text messages
                                                        19   between Helga and Natalie

                                                        20
                                                        21   I DECLARE THE FOREGOING IS TRUE AND CORRECT UNDER PENALTY OF
                                                             PERJURY
                                                        22
                                                        23
                                                              DATED: May 7, 2018                                 By:____ _________________________
                                                        24                                                            BEN MEISELAS
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                                                                                       SUPPLEMENTAL DECLARATION OF BEN MEISELAS
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                                                         2                            EXHIBIT “A”
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                                                                                 SUPPLEMENTAL DECLARATION OF BEN MEISELAS
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